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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                                Case No. 8:14-cr-497-T-30JSS

   TEDRICK RANDALL


                           FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court upon the United States of America's

   Motion for a Forfeiture Money Judgment (Doc. 142) in the amount of $15,457.00.

          Being fully advised of the relevant facts, the Court hereby finds that at least

   $15,457.00 in proceeds was obtained from the conspiracy to commit theft of

   government funds to which the defendant pled guilty.

          Accordingly, it is hereby:

          ORDERED, ADJUDGED, and DECREED that for good cause shown, the

   United States= motion (Doc. 142) is GRANTED.

          It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(C), 28

   U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure,

   the defendant shall be held jointly and severally liable with co-defendants Marcus

   Lowe and Rachel Kerley for a forfeiture money judgment in the amount of

   $15,457.00.

          It is FURTHER ORDERED that, upon entry of this order, it shall become a

   final order of forfeiture as to the defendant.
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            The Court retains jurisdiction to address any third party claim that may be

   asserted in these proceedings, to enter any further order necessary for the

   forfeiture and disposition of such property, and for any substitute assets that the

   United States may be entitled to seek up to the amount of the forfeiture money

   judgment.

            DONE and ORDERED in Tampa, Florida, this 15th day of July, 2015.




   Copies furnished to:
   Counsel/Parties of Record
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